                                                        Case 2:15-cv-01045-RFB-BNW            Document 47       Filed 02/04/15    Page 1 of 3



                                                    1    WILLIAM A. ISAACSON (Admitted Pro Hac Vice)
                                                         (wisaacson@bsfllp.com)
                                                    2    BOIES, SCHILLER & FLEXNER LLP
                                                         5301 Wisconsin Ave, NW, Washington, DC 20015
                                                    3
                                                         Telephone: (202) 237-2727; Fax: (202) 237-6131
                                                    4
                                                         JOHN F. COVE, JR. #212213
                                                    5    (jcove@bsfllp.com)
                                                         BOIES, SCHILLER & FLEXNER LLP
                                                    6    1999 Harrison Street, Suite 900, Oakland, CA 94612
                                                    7    Telephone: (510) 874-1000; Fax: (510) 874-1460

                                                    8    RICHARD J. POCKER #114441
                                                         (rpocker@bsfllp.com)
                                                    9    BOIES, SCHILLER & FLEXNER LLP
L L P




                                                         300 South Fourth Street, Suite 800, Las Vegas, NV 89101
                                                   10    Telephone: (702) 382 7300; Fax: (702) 382 2755
                                   F L E X N E R




                                                   11
                           C A L I F O R N I A




                                                         DONALD J. CAMPBELL (Admitted Pro Hac Vice)
                                                   12    (DJC@campbellandwilliams.com)
                                                         J. COLBY WILLIAMS (Admitted Pro Hac Vice)
                                                   13    (JCW@campbellandwilliams.com)
                                                         CAMPBELL & WILLIAMS
                              &




                                                   14    700 South 7th Street, Las Vegas, Nevada 89101
             S C H I L L E R




                                                   15    Telephone: (702) 382-5222; Fax: (702) 382-0540
         O A K L A N D ,




                                                   16    Attorneys for Defendant Zuffa, LLC, d/b/a Ultimate Fighting
                                                         Championship and UFC
                                                   17
                                                                                       UNITED STATES DISTRICT COURT
B O I E S ,




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                                                   19                  NORTHERN DISTRICT OF CALIFORNIA - SAN JOSE DIVISION

                                                   20    Cung Le, Nathan Quarry, Jon Fitch, on behalf       Case No. 5:14-cv-05484 EJD
                                                         of themselves and all others similarly situated,
                                                   21                                                        XXXXXXXX ORDER GRANTING
                                                                                                            [PROPOSED]
                                                                        Plaintiffs,                         DEFENDANT ZUFFA, LLC’S
                                                   22           v.                                          CONSOLIDATED MOTION TO REMOVE
                                                   23                                                       INCORRECTLY FILED DOCUMENTS
                                                         Zuffa, LLC, d/b/a Ultimate Fighting
                                                   24    Championship and UFC,

                                                   25                   Defendant.                          Judge:     Hon. Edward J. Davila
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                                                         Zuffa’s Consolidated Mot to Remove                              Case Nos. 5:14-cv-05484 EJD
                                                         Incorrectly Filed Documents                            5:14-cv-05591 EJD; 5:14-cv-05621 EJD
                                                        Case 2:15-cv-01045-RFB-BNW           Document 47    Filed 02/04/15   Page 2 of 3



                                                    1    Luis Javier Vazquez and Dennis Lloyd              Case No. 5:14-cv-05591 EJD
                                                         Hallman, on behalf of themselves and all
                                                    2    others similarly situated,
                                                    3
                                                                        Plaintiffs,
                                                    4
                                                                v.
                                                    5
                                                         Zuffa, LLC, d/b/a Ultimate Fighting
                                                    6    Championship and UFC,
                                                    7
                                                                        Defendant.
                                                    8
                                                         Brandon Vera and Pablo Garza, on behalf of        Case No. 5:14-cv-05621 EJD
                                                    9    themselves and all others similarly situated,
L L P




                                                   10
                                                                        Plaintiffs,
                                   F L E X N E R




                                                   11
                           C A L I F O R N I A




                                                                v.
                                                   12
                                                         Zuffa, LLC, d/b/a Ultimate Fighting
                                                   13    Championship and UFC,
                              &




                                                   14
                                                                        Defendant.
             S C H I L L E R




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         O A K L A N D ,




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B O I E S ,




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                                                         Zuffa’s Consolidated Mot to Remove                           Case Nos. 5:14-cv-05484 EJD
                                                         Incorrectly Filed Documents                         5:14-cv-05591 EJD; 5:14-cv-05621 EJD
                                                        Case 2:15-cv-01045-RFB-BNW            Document 47      Filed 02/04/15     Page 3 of 3



                                                    1                                         [PROPOSED]
                                                                                              XXXXXXXX ORDER
                                                    2              Before the Court is Defendant Zuffa, LLC’s (“Zuffa”) consolidated motion to remove

                                                    3    incorrectly filed documents on January 30, 2015.

                                                    4              Having considered Zuffa’s motion, the Court GRANTS the motion. IT IS HEREBY

                                                    5    ORDERED that the following documents shall be removed from the court’s ECF system and

                                                    6    docket:

                                                    7              In case number 5:14-cv-05484-EJD: Exhibits B, C, E, G, H-V, X-Z to Zuffa’s

                                                    8    Consolidated Motion to Transfer Venue Under 28 U.S.C. § 1404(a) [Docket Nos. 31-3, 31-4, 31-

                                                    9    6, 31-8, 31-9, 31-10, 31-11, 31-12, 31-13, 31-14, 31-15, 31-16, 31-17, 31-18, 31-19, 31-20, 31-
L L P




                                                   10    21, 31-22, 31-23, 31-25, 31-26, 31-27.]
                                   F L E X N E R




                                                   11              In case number 5:14-cv-05591-EJD: Exhibits B, C, E, G, H-V, X-Z to Zuffa’s
                           C A L I F O R N I A




                                                   12    Consolidated Motion to Transfer Venue Under 28 U.S.C. § 1404(a) [Docket Nos. 18-3, 18-4, 18-

                                                   13    6, 18-8, 18-9, 18-10, 18-11, 18-12, 18-13, 18-14, 18-15, 18-16, 18-17, 18-18, 18-19, 18-20, 18-
                              &




                                                   14    21, 18-22, 18-23, 18-25, 18-26, 18-27.]
             S C H I L L E R




                                                   15              In case number 5:14-cv-05621-EJD: Exhibits B, C, E, G, H-V, X-Z to Zuffa’s
         O A K L A N D ,




                                                   16    Consolidated Motion to Transfer Venue Under 28 U.S.C. § 1404(a) [Docket Nos. 18-3, 18-4, 18-

                                                   17    6, 18-8, 18-9, 18-10, 18-11, 18-12, 18-13, 18-14, 18-15, 18-16, 18-17, 18-18, 18-19, 18-20, 18-
B O I E S ,




                                                   18    21, 18-22, 18-23, 18-25, 18-26, 18-27.]

                                                   19

                                                   20

                                                   21       February 4
                                                         _____________________, 2015

                                                   22                                                 THE HONORABLE EDWARD J. DAVILA
                                                                                                      United States District Judge
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                                                         Zuffa’s Consolidated Mot. To Remove                             Case Nos. 5:14-cv-05484 EJD
                                                         Incorrectly Filed Documents                            5:14-cv-05591 EJD; 5:14-cv-05621 EJD
